101 F.3d 695
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Terence Kenneth O'NEAL, Plaintiff-Appellant,v.T.E. MERKEL;  Nurse Cashwell;  Nurse Allen;  Nurse Davis;Mr. Conn, Defendants-Appellees,andFranklin E. FREEMAN, Jr.;  Gary Dixon;  Doctor Lowy;  DoctorShaw;  Doctor Castalloe;  Harry Allsbrook;  Mr.Cherry, Defendants.
    No. 95-7795.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 31, 1996.Decided Nov. 18, 1996.
    
      Terence Kenneth O'Neal, Appellant Pro Se.  Mark John Pletzke, NORTH CAROLINA DEPARTMENT OF JUSTICE, Raleigh, North Carolina, for Appellee.
      E.D.N.C.
      AFFIRMED.
      Before WILLIAMS and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   O'Neal v. Merkel, No. CA-94-476-5-CT-H (E.D.N.C. Sept. 26, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    